467 F.2d 571
    UNITED STATES of America, Plaintiff-Appellee,v.Frank Eugene SEELEY et al., Defendants-Appellants.UNITED STATES of America, Plaintiff-Appellee,v.Frank Eugene SEELEY, Defendant-Appellant.
    Nos. 72-1773, 72-1774 Summary Calendar.*
    United States Court of Appeals,Fifth Circuit.
    Oct. 2, 1972.Rehearing Denied Oct. 30, 1972.
    
      Harold Mendelow, Miami, Fla., for the Linales.
      Edward C. Flood, Bartow, Fla., Theodore Klein, Miami, Fla., for Seeley.
      John L. Briggs, U. S. Atty., Jacksonville, Fla., Hugh N. Smith, Claude H. Tison, Jr., Asst. U. S. Attys., Tampa, Fla., for plaintiff-appellee.
      Before THORNBERRY, COLEMAN and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      A jury found Eugene Peter Linale guilty on thirteen counts of violating the laws of the United States with reference to firearms, plus an additional count charging a conspiracy to do so.  Frank Eugene Seeley was also convicted on a number of counts, charging similar offenses.  Mrs. Phyllis Jean Linale was convicted of conspiracy.
    
    
      2
      The appeal seeks reversal predicated on the following grounds: (1) insufficiency of the evidence, (2) entrapment, (3) failure to suppress evidence obtained by an assertedly illegal search, (4) failure to grant a severance, (5) judicial non-compliance with Rule 25 of the Federal Rules of Criminal Procedure, and (6) improper prosecutorial oral argument.
    
    
      3
      Finding no effective merit in any of these contentions, the judgments of convictions are, as to all three appellants,
    
    
      4
      Affirmed.
    
    
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    